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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;8&lt;/A&gt;-00&lt;A NAME="2"&gt;674&lt;/A&gt;-CR&lt;/CENTER&gt;


&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/STRONG&gt;&lt;/P&gt;


&lt;CENTER&gt;&lt;A NAME="3"&gt;Marquerite Branch&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;BELL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;27TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;48,532&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JOE CARROLL&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;



PER CURIAM

&lt;P&gt;Appellant's motion to dismiss this appeal is granted.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 42.2(a). 
The appeal is dismissed.&lt;/P&gt;

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&lt;P&gt;Before Chief Justice Aboussie, Justices Kidd and Patterson&lt;/P&gt;

&lt;P&gt;Dismissed on Appellant's Motion&lt;/P&gt;

&lt;P&gt;Filed:   May 20, 1999&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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